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_ UNITED STATES DISTRICT COURT, F | LED
WESTERN DISTRICT OF TEXAS
SAN ANTONIO DIVISION

§

UNITED STATES OF AMERICA, §

ex rel. JANAKI RAMADOSS, et §
al.,,

”” Plaintiffs No. SA-99-CA-00914-WRF

§

Vv. §

§

CAREMARK INC., et al., §

Defendants. §

ORDER ADOPTING SPECIAL MASTER’S RECOMMENDATIONS
REGARDING THE ELIGIBILITY FILE, ORDERING THE GOVERNMENT TO
HAVE HMS RETURN THE ELIGIBILITY FILE, AND DENYING AS MOOT

‘MOTIONS WITH REGARD TO THE ELIGIBILITY FILE
BEFORE THE COURT are the Recommendations (“Recommendation”) of Special
Master Karl Bayer, (“Special Master”) (Docket No. 565), filed January 21, 2008, with respect
to Defendant Caremark’s (“Caremark”) Motion for an Order to Show Cause Regarding
Disclosure of the Eligibility File (Docket No. 294), and Plaintiff the United States’ (the
“Government”) Motion to Request an Advisory Opinion on the Stipulated Protective Order

Governing the Disclosure of Health Information (Docket No. 295). Both Motions address the

Government’s sharing of the Eligibility File, and whether such disclosure is permitted under

‘the current Stipulated Protective Order Governing the Disclosure of Health Information (the

 
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“HIPAA Protective Oder”).' Specifically, this issue centers around the Government’s
disclosure of the Eligibility File to states that are not a party to this litigation, and to Health
Management Systems (“HMS”). The Special Master conducted an oral hearing on this issue
on August 9 and 10, 2007.

The Special Master recommends that the Court find the Government violated the
HIPAA Protective Order when it disclosed the Eligibility File to HMS. The Special Master
further recommends that the Court impose sanctions against the Government for violating the
HIPAA Protective Order.

The Government filed objections to the Special Master’s Recommendation on February
28, 2008.2 The Government argues it complied with the HIPAA protective order.
Specifically, the Government claims (1) HMS was an authorized party qualified to receive
confidential health information under the HIPAA Protective Order; (2) patient confidentiality
has not been compromised; (3)HMS disclosed its work for the Government in this litigation
to the Special Master and Caremark; (4) the Special Master improperly relied on a July 16,

2007 e-mail from HMS counsel to Caremark; (5) the Special Master’s objection to the

 

'The Court understands the Eligibility File to be a massive database that contains private
and confidential information of persons, many of whom, may not even be the subject of any of
the already processed claims at issue in this case. .

Under Federal Rule of Civil Procedure 53(g)(2), parties have twenty days to file
objections to, or a motion to adopt or modify the Recommendations. The Court also observes
that Texas filed additional objections because it felt “compelled to challenge the
Recommendation.” Because neither the underlying Motions nor the Special Master’s
Recommendation involve Texas, the Court need not consider or address Texas’ objections.

 
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Government’s use of the Eligibility File is contrary to the Court’s prior oral ruling and (6) the
Special Master erred with his recommendations because he followed no established authority
and no motion for sanctions was before him.

The Court finds each of these arguments unavailing. Instead, it is clear to the Court
that the HIPAA Protective Order should protect against disclosure of information, such as the
Eligibility File, to third parties without complying with the terms of the HIPAA Protective
Order. The HIPAA Protective Order provides that parties may disclose confidential
documents, such as the Eligibility File, to non-parties (1) only as provided by law in the
HIPAA Protective Order (2) for the purposes of this litigation and (3) only if the non-party
signs the form of acknowledgment.’

HMS is not a party to this litigation.* The Court is not convinced that HMS falls into
any of the categories of persons who may receive confidential health information under the
HIPAA Protective Order. HMS is not a retained witness or expert, an administrative assistant,
or a witness at a deposition, hearing, mediation, trial or other proceeding. Therefore, the
Government was required to obtain an order from the Court permitting disclosure of the

Eligibility File.° The Government failed to do so. Accordingly, the Court finds the

 

3See HIPAA Protective Order.

‘In Exhibit C to the Government’s objections, HMS states it “is not a party to this
litigation, has not been retained by any party, and is not compensated for any participation in this
litigation.” Docket No. 592, Ex. C. The Government’s argument that HMS “effectively served as
an expert” is unpersuasive. See Docket No. 592 at 6.

*See HIPAA Protective Order.

 
 

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Government violated the HIPAA Protective Order by disclosing the Eligibility File.°
Similarly, individual states that are not a party to this litigation may not be given confidential
information pursuant to the HIPAA Protective Order. Should a party seek to disclose the
Eligibility File to a non-party in the future, it must obtain an order from the Court permitting
it to do so. |

The Court also adopts the Special Master’s Recommendation with regard to sanctions
against the United States for violating the HIPAA Protective Order. The Court will maintain
jurisdiction over this issue, even after the case is disposed of on the merits. Ifa situation
arises where Caremark faces liability or damages for problems associated with the
Government’s disclosure of the Eligibility File, upon provable harm, the Court will reconvene
proceedings to address whether monetary sanctions are appropriate. The Court is not ordering
the Government to indemnify Caremark in the event of such claims, but instead is retaining
jurisdiction so it can determine whether sanctions are appropriate in the future should a claim

arise.

 

Because the Court makes this finding, it need not address the additional arguments in the
Government’s objections to the Special Master’s Recommendation. However, the Court finds it
necessary to briefly address two points. First, the Government alleges the Special Master’s
Recommendation is “contrary to this Court’s prior oral ruling.” Docket No. 592. at 14. The oral
ruling the Government refers to was that the Court “commented favorably” on the Government’s
proposal to use an updated Eligibility File, and that the Court indicated the Government would
get the updated File. Jd. To interpret this ruling to allow the Government to circumvent the
HIPAA Protective Order and impermissibly disclose the confidential Eligibility File to third

"parties is untenable. Second, although the Special Master does not address the General
Protective Order in this case in his Recommendation, it is likely the Government’s disclosure of
the Eligibility File violated that Order as well. .
 

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Finally, the Government is ordered to have HMS return the Eligibility File to the
Government, accompanied by an affidavit from HMS, submitted to the Court, that states HMS
is no longer using the Eligibility File and has returned it.

For the reasons stated above, the Court is of the opinion the Special Master’s
Recommendation (Docket No. 565) should be ADOPTED IN ITS ENTIRETY. Furthermore,
it is ORDERED that the Government have HMS return the Eligibility File with an affidavit
from HMS referenced above.

Based on these rulings, Caremark’s Motion for an Order to Show Cause Regarding
Disclosure of Eligibility File (Docket No. 294), and the Government’s Motion for a Request
for an Advisory Opinion on the Stipulated Protective Order Governing the Disclosure of
Health Information (Docket No. 295) are both DENIED AS MOOT.

It is so ORDERED.

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Signed this k3 = day of March, 2008.

 

ROYAL FURGESQN
UNITED STATES DISTRICT JUDGE

 
